                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Delaware



In Re. Zohar CDO 2003-1, Limited                                    §                   Case No. 18-10517
                                                                    §
                                                                    §                   Lead Case No. 18-10512
                       Debtor(s)                                    §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 03/31/2022                                                        Petition Date: 03/11/2018

Months Pending: 49                                                                        Industry Classification:    5   2   5   9

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/S/ Mike Katzenstein                                                         Mike Katzenstein, Chief Restructuring Officer
Signature of Responsible Party                                               Printed Name of Responsible Party
05/13/2022
                                                                             1166 Avenue of the Americas, 15th Floor
Date
                                                                             New York, NY 10036
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
Debtor's Name Zohar CDO 2003-1, Limited                                                           Case No. 18-10517


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                    $0
c.   Total disbursements (net of transfers between accounts)                                         $0                    $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                    $0
f.   Total disbursements for quarterly fee calculation (c+e)                                         $0                    $0
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                  $2,625,093
e.   Total assets                                                                          $2,625,093
f.   Postpetition payables (excluding taxes)                                              $29,546,096
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                        $29,546,096
k.   Prepetition secured debt                                                            $313,786,648
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                  $343,332,744
o.   Ending equity/net worth (e-n)                                                       $-340,707,651

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                    $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                    $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                    $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                               $-463,617
i.   Taxes (local, state, and federal)                                                             $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                          $-463,617             $-31,950,595


UST Form 11-MOR (12/01/2021)                                           2
Debtor's Name Zohar CDO 2003-1, Limited                                                                      Case No. 18-10517

Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                         Role
       i        See attached schedule             Other
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UST Form 11-MOR (12/01/2021)                                                3
Debtor's Name Zohar CDO 2003-1, Limited       Case No. 18-10517


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UST Form 11-MOR (12/01/2021)              4
Debtor's Name Zohar CDO 2003-1, Limited                                                                     Case No. 18-10517


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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                        Role
       i
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UST Form 11-MOR (12/01/2021)                                             5
Debtor's Name Zohar CDO 2003-1, Limited       Case No. 18-10517


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UST Form 11-MOR (12/01/2021)              6
Debtor's Name Zohar CDO 2003-1, Limited       Case No. 18-10517


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UST Form 11-MOR (12/01/2021)              7
Debtor's Name Zohar CDO 2003-1, Limited                                                       Case No. 18-10517


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         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                          8
Debtor's Name Zohar CDO 2003-1, Limited                                                                       Case No. 18-10517

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/S/ Mike Katzenstein                                                            Mike Katzenstein
Signature of Responsible Party                                                  Printed Name of Responsible Party

Chief Restructuring Officer                                                     05/13/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
Debtor's Name Zohar CDO 2003-1, Limited                    Case No. 18-10517




                                          PageOnePartOne




                                          PageOnePartTwo




                                          PageTwoPartOne




                                          PageTwoPartTwo




UST Form 11-MOR (12/01/2021)                  10
Debtor's Name Zohar CDO 2003-1, Limited                          Case No. 18-10517




                                             Bankruptcy1to50




                                            Bankruptcy51to100




                                           NonBankruptcy1to50




                                          NonBankruptcy51to100




UST Form 11-MOR (12/01/2021)                     11
Debtor's Name Zohar CDO 2003-1, Limited               Case No. 18-10517




                                          PageThree




                                           PageFour




UST Form 11-MOR (12/01/2021)                12
Zohar III, Corp., et al,
NOTES TO MONTHLY OPERATING REPORT
Reporting Period: March 1 – 31, 2022

The Monthly Operating Report (“MOR”) herein includes information for the following Debtors (with the last four
digits of their taxpayer identification number): Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO
2003-1, Corp. (3724) (collectively, the “Zohar Corps” or the “Corp Entities”), each of which is a Delaware
corporation and Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited
(5119) (the “Zohar Funds” or the “Limited Entities”), each of which is a Cayman Islands entity. The Zohar Corps
together with the Zohar Funds are collectively referred to as the “Debtors”.

In preparing this report, the Chief Restructuring Officer (“CRO”) has relied on information received, either directly
or indirectly, from or through third parties, including but not limited to, Alvarez & Marsal Zohar Management LLC
(“AMZM”, as former collateral manager), Patriarch Partners Agency Services LLC (“PPAS”, as the former
administrative agent under the various credit agreements with the Portfolio Companies), Ankura Trust Company
(“Ankura”, as the current administrative agent under the various credit agreements with the Portfolio Companies and
current collateral manager) and U.S. Bank National Association (“US Bank”) (as indenture trustee under the Zohar
Indentures). The CRO does not yet have certain information that may become available as part of continuing
disclosures and document deliveries to the CRO, and the CRO is still seeking other information that may be
pertinent to disclosures made herein. As such, while the Debtors have made every effort to accurately reflect their
financial results and condition, certain information contained herein may be stale, inaccurate or otherwise subject to
change.

All operating activity is conducted at the Limited Entities and therefore all income statement and balance sheet
accounts reflected herein are those of the Limited Entities. No activity or balances are recorded at the Corp Entities
although they are co-issuers of the Zohar notes 1.

The MOR is limited in scope, covers a limited time period, and has been prepared solely for the purpose of
complying with the monthly operating report requirements of the United States Trustee.

The MOR is unaudited, preliminary, and does not comply with generally accepted accounting principles in the
United States of America (“U.S. GAAP”) in all material respects. The MOR was prepared without full access to pre-
petition financial information, including the general ledger. Non-Debtor entities may be in the possession of
financial information regarding the Debtors that has not been provided to the Debtors or the CRO and such
information, once made available to the Debtors and CRO, could result in a material re-statement of the information
included in this MOR. Parties may dispute asset, liability and equity amounts, and all rights are reserved.

The financial statements and the supplemental information contained herein represent the financial information for
the Debtors only and not for non-debtor affiliates. The results of operations herein are not necessarily indicative of
results that are expected from any other period or for the full year and may not necessarily reflect the results of
operations, financial position or cash flows of the Debtors in the future.


Bank Accounts:
The bank accounts held by the Debtors are at Truist (f.k.a. BB&T), a US Trustee-approved depository institution,
and are included in the Schedule of Cash Receipts and Disbursements.

Historically, all cash was held at US Bank, as indenture trustee. US Bank holds approximately $2.6 million, $1.9
million and $696 thousand in cash related to Zohar I, Zohar II and Zohar III, respectively, which is reflected in the
MOR as restricted cash.




1
  The US Trustee fees at the Corp Entities are expensed and paid by the corresponding Limited Entities (i.e., Zohar
III, Limited pays the US Trustee fees of Zohar III, Corp).

                                                                                                                         13

                                                                                                             PAGE 2 of 13
Collateral Management Fee:
Based on information provided by AMZM, the Debtors understand that certain cash is being held in connection with
AMZM’s role as Collateral Manager of the Zohar Funds. This MOR does not include any such cash.

Settlement Agreement:
On May 21, 2018, an Order was entered by the United States Bankruptcy Court for the District of Delaware
approving a settlement agreement by and between the Debtors, Lynn Tilton, the Patriarch Stakeholders (as defined
in the Settlement Agreement), MBIA Insurance Corp. (“MBIA”), and the Zohar III Controlling Class referred to
therein (the “Settlement Agreement”).

As a part of the Settlement Agreement MBIA and the Zohar III Controlling Class disclosed their respective Paid in
Full 2 amounts, subject to the limitations and qualifications in Exhibit A to the Settlement Agreement. The largest
component of the Secured Debt balance in MOR-3 are the liabilities to Zohar Noteholders.

INCOME STATEMENT – MOR 2:

Interest Income:
Gross interest income related to the Portfolio Company Loans (the “PC Loans”) is recorded each month for all loans
currently being invoiced by the administrative agent. Interest income is not being recorded for certain Portfolio
Companies that are not being invoiced by the administrative agent.

From the Petition Date to October 2019, the majority of the Group A Portfolio Companies were making interest
payments to the Debtors. Beginning in November 2019, the majority of the Group A Portfolio Companies stopped
paying interest. With minor exceptions, the Group B Portfolio Companies have not paid interest since the Petition
Date.

Reserve for Uncollectable Interest Income:
Because the Debtors record the full gross amount of PC Loan interest, a reserve related to potentially uncollectable
accrued interest income related to certain Group A Portfolio Companies and all Group B Portfolio Companies is
taken each month. The Debtors record this reserve in the Bad Debts – PC Loan Interest expense line item on the
MOR income statement. After taking these reserves into account, the net accrued interest receivable reflected on the
March 2022 balance sheet is approximately $1.5 million and $645 thousand for Zohar II and Zohar III, respectively.
The Debtors will continue to review the collectability of PC Loan interest and may record additional reserves in the
future. Note there can be no assurances that the current amount of net interest receivable recorded in the MOR will
ultimately be collectable.

Notes Receivable Write Down:
Beginning in the fourth quarter of 2020, the Debtors and their advisors undertook a process to assess the
collectability of the PC Loans. As a result of these ongoing analyses, from time to time the Debtors may adjust the
balances of certain PC Loans to reflect the Debtors’ view as to the collectability of such loans, as described in more
detail below in the Material Change in the Presentation of the Debtors’ Notes Receivable Assets section of this
MOR. Any write downs taken during this period are reflected in the Bad Debts – PC Loan Principal expense line
item on the Debtors’ income statement.

Interest Expense:
Interest expense includes accrued interest on the Zohar notes (as follows):

         Zohar I: 3-month LIBOR plus 1.4% on the Class A-3 notes as reflected in the indenture governing the
         Zohar I notes.

         Zohar II: Prime plus 2% on the Paid in Full balance as stated in the Settlement Agreement.

2
  Defined in the Settlement Agreement as the amount owed to the parties and in the amounts listed and calculated on
the schedule attached to the Settlement Agreement as Exhibit A to be updated monthly to reflect accrued and unpaid
interest and fees allowable under the Indentures.

                                                                                                                      14
         Zohar III: 3-month LIBOR plus 0.4% for Class A-1R, 0.38% for Classes A-1T and A-1D, 0.55% for Class
         A-2 and 0.75% for Class A-3 on the Paid in Full balance as stated in the Settlement Agreement.


Professional Fees:
Professional fee payments and accruals have been allocated 55% to Zohar II and 45% to Zohar III except for fees
related to MBIA and the Zohar III Controlling Class, which are charged directly to Zohar II and Zohar III,
respectively. Accrual estimates for all professionals are updated periodically to reflect actual costs. The presentation
and allocation of professional fees reflected herein are non-binding and may be subject to restatement or
reallocation.



BALANCE SHEET - MOR-3:

NOTES RECEIVABLE ASSET
For Portfolio Companies being invoiced by the administrative agent, the Debtors have historically carried the PC
Loans at the underlying face amount outstanding without adjustment. The total gross amount of these PC Loans
outstanding appears on the MOR Balance Sheet in the notes receivable line item. Any PC Loans that are not being
invoiced by the administrative agent are not reflected in the MOR. All of the PC Loans have matured. As a result,
they are in default and the vast majority of the Portfolio Companies are no longer paying interest.

Beginning in the fourth quarter of 2020, the Debtors and their advisors preliminarily assessed the collectability of
the PC Loans. As part of the monetization efforts, certain Portfolio Companies have been sold, resulting in proceeds
that were less than the face amount of the PC Loans. Certain Portfolio Companies are no longer operating, and based
on an assessment of the assets and financial performance of the Portfolio Companies, full collection of the face
amount of the PC Loans appears to be unlikely. After an assessment of the collectability across their loan portfolio,
the Debtors have reduced the carrying value of the notes receivable assets. The reductions represented herein are
preliminary and do not represent a market valuation of the PC Loans.

The MORs are not prepared in accordance with GAAP and this assessment does not constitute an asset impairment
analysis in conformity with GAAP. The Debtors’ assets have not been “marked-to-market” and the Debtors do not
plan to adjust the PC Loans to market value in the future. If a market-based approach were employed, additional
write downs of the notes receivable assets may be necessary. As the Debtors continue to assess their notes receivable
assets, it is possible that further asset write downs may occur.

OTHER ASSET ITEMS
Interest Receivable, net reflects the unpaid interest accruals on PC Loans from the Petition Date to March 2022, net
of Bad Debts – PC Loan Interest.

The value of the equity interest in the Portfolio Companies are unknown, and the ownership rights in these equity
interests may be disputed by certain parties; as such, no value has been assigned to the Debtors’ equity interests in
the Portfolio Companies.

The loans Zohar I made to Portfolio Companies are excluded from the balance sheet because these loans are owned
by MBIA as a result of the December 21, 2016 auction.

LIABILITIES
The Class B Notes of each Zohar fund are reflected at a carrying value of zero.

Among other impacts, the Settlement Agreement impacts each Zohar Fund as follows:




                                                                                                                        15
        Zohar I: The Zohar I Paid in Full Amount as of April 18, 2018 is $164.9 million which includes (i) the
        principal amount paid by MBIA on account of its Insurance Agreement 3, (ii) the net accrued interest
        pursuant to Section 4.03 of the Insurance Agreement through April 18, 2018, and (iii) the Credit
        Enhancement Liabilities 4 incurred through April 18, 2018. Given the December 21, 2016 Auction and the
        Settlement Agreement, the Debtors are not reflecting any Zohar I notes receivable or notes payable (except
        for the A-3 notes payable, which were not subject to the Insurance Agreement).

        Zohar II - the principal balance for Class A notes is reported as $770.1 million as of April 18, 2018.

        Zohar III - the principal balance for Class A notes is reported as $791.2 million as of April 18, 2018.

DEBTOR IN POSSESSION FINANCING
Beginning in March 2022, Zohar III made use of post-petition borrowings from a Debtor-in-Possession (DIP)
facility. The net amount of these borrowings on the March 2022 balance sheet is approximately $5.9 million and is
reflected in post-petition Notes Payable.




3
  The Insurance and Indemnity Agreement by and among MBIA Insurance Corporation (as Insurer), Zohar CDO
2003-1, Limited (as Issuer), Zohar CDO 2003-1 Corp. (as Co-Issuer) and Zohar CDO 2003-1, LLC, dated as of
November 13, 2003
4
  As defined in the Indenture by and between Zohar CDO 2003-1 Limited, Zohar CDO 2003-1 Corp., Zohar CDO
2002-1, LLC, MBIA Insurance Corporation (as Credit Enhancer), CDC Financial Products Inc. (as Class A-1 Note
Agent), U.S. Bank National Association (as Trustee), dated as of November 13, 2003

                                                                                                                    16
In re Zohar III, Corp, et al.                                                                                        Case No.           18-10512
      Debtor                                                                                                Reporting Period: March 1, 2022 - March 31, 2022

                                                   SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

      Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
      first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
      equal the sum of the three bank account columns. Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in
      the disbursements journal. Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
      must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                            Zohar CDO 2003- Zohar II 2005-1,                       Zohar III,
                                                                                                                                          CURRENT                   CUMULATIVE
                                                               1, Limited       Limited                             Limited
                                                                                                                                        MONTH TOTAL                   TOTAL
      CASE NUMBER                                              18-10514        18-10513                            18-10512
      CASH BEGINNING OF MONTH                               $             - $    15,246,160 $                         2,507,491         $         17,753,650 $            1,275,000
      RECEIPTS
      LOAN RECEIPTS - INTEREST                                                                          -                        -                           -          100,639,083
      POSTPETITION
      LOANS AND ADVANCES                                                                              -                       -                           -               9,602,132
      SALE OF ASSETS                                                                             201,199                  86,205                     287,403            241,260,121
      OTHER                                                                                          751               6,002,473                   6,003,224              9,799,404
      TRANSFERS                                                                                       -                       -                           -                      -
         TOTAL RECEIPTS                                                        -                 201,950               6,088,678                   6,290,628            361,300,740
      DISBURSEMENTS
      NET PAYROLL                                                                                                                                         -                      -
      PAYROLL TAXES                                                                                                                                       -                      -
      SALES, USE, & OTHER TAXES                                                                                                                           -                      -
      INVENTORY PURCHASES                                                                                                                                 -                      -
      SECURED/ RENTAL/ LEASES                                                                                                                             -                      -
      INSURANCE                                                                                                                                           -                      -
      ADMINISTRATIVE                                                                                                                                      -                      -
      SELLING                                                                                                                                             -                      -
      OTHER (ATTACH LIST)                                                                                                                                 -                      -
      - Bank Service Fees                                                      -                      250                      250                       500                 13,707
      OWNER DRAW *                                                                                                                                        -                      -
      TRANSFERS                                                                                      -                    88,678                      88,678            176,195,414
      LOANS                                                                                          -                        -                           -               5,500,000
      PROFESSIONAL FEES                                                                       4,514,834                3,601,270                   8,116,104            162,400,059
      U.S. TRUSTEE QUARTERLY FEES                                                                    -                        -                           -               2,627,562
      COURT COSTS                                                                                                                                         -                      -
      TOTAL DISBURSEMENTS                                                      -              4,515,084                3,690,198                   8,205,281            346,736,743

      NET CASH FLOW                                                            -             (4,313,134)               2,398,480                  (1,914,654)            14,563,997
      (RECEIPTS LESS DISBURSEMENTS)

      CASH – END OF MONTH(1)                                $                  -     $       10,933,026 $              4,905,971        $         15,838,997 $           15,838,997
      * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE




      Unaudited, subject to change.


  (1) Cash balances include amounts held at respective Truist (f.k.a. BB&T) accounts. Excludes certain cash being held in connection with AMZM’s
      role as Collateral Manager of the Zohar Funds. Balances held at US Bank accounts are shown in MOR-3 as Restricted Cash.




                                                                                                                                                                          17
In re Zohar III, Corp, et al.                                                               Case No.          18-10512
      Debtor                                                                       Reporting Period: March 1, 2022 - March 31, 2022

                                                     BANK RECONCILIATIONS

                                          Zohar CDO 2003-1, Limited       Zohar II 2005-1, Limited                 Zohar III, Limited

      BALANCE PER BOOKS                   $                       -   $                   10,933,026   $                                4,905,971

      BANK BALANCE                        $                       -   $                   10,933,026   $                                4,905,971
      (+) DEPOSITS IN TRANSIT (ATTACH
      LIST)
      (-) OUTSTANDING CHECKS
      (ATTACH LIST)
      OTHER (ATTACH EXPLANATION)
      ADJUSTED BANK BALANCE*              $                       -   $                   10,933,026   $                                4,905,971
      *Adjusted bank balance must equal
      balance per books

      DEPOSITS IN TRANSIT                     Date       Amount             Date          Amount            Date                  Amount




      CHECKS OUTSTANDING                      Ck #       Amount            Ck #           Amount            Ck #                  Amount




      OTHER




                                                                                                                                             18
In re Zohar III, Corp, et al.                                                                                                                                 Case No.           18-10512
      Debtor                                                                                                                                         Reporting Period: March 1, 2022 - March 31, 2022

                                                      SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                        This schedule is to include all retained professional payments from case inception to current month


                                                                                                             Amount                                  Check                          Amount Paid
                                  Payee                                 Period Covered                      Approved      Payor                 Number     Date               Fees             Expenses
      FTI Consulting, Inc.                                         5/21/2018 - 1/31/2022                     20,818,957 Zohar II               Wire                           20,755,407            63,549
      FTI Consulting, Inc.                                         5/21/2018 - 1/31/2022                     17,033,692 Zohar III              Wire                           16,981,697            51,995
      Subtotal FTI Consulting, Inc.                                                                          37,852,648                                                       37,737,104           115,544

      Goldin Associates, LLC                                       3/12/2018 - 1/31/2022                        1,917,510 Zohar II             Wire                             1,905,749               11,761
      Goldin Associates, LLC                                       3/12/2018 - 1/31/2022                        1,568,872 Zohar III            Wire                             1,559,249                9,622
      Subtotal Goldin Associates, LLC                                                                           3,486,382                                                       3,464,999               21,383

      Houlihan Lokey Capital, Inc.                                 2/1/2020 - 1/31/2022                         2,244,818 Zohar II             Wire                             2,230,000               14,818
      Houlihan Lokey Capital, Inc.                                 2/1/2020 - 1/31/2022                         1,882,124 Zohar III            Wire                             1,870,000               12,124
      Subtotal Houlihan Lokey Capital, Inc.                                                                     4,126,942                                                       4,100,000               26,942

      Joe Farnan Jr.                                               5/1/2018 - 12/31/2021                          848,879 Zohar II                                                840,512                8,367
      Joe Farnan Jr.                                               5/1/2018 - 12/31/2021                          763,646 Zohar III                                               756,800                6,846
      Subtotal Joe Farnan Jr.                                                                                   1,612,525                                                       1,597,312               15,213

      KPMG LLP                                                     10/1/2020 - 1/31/2022                        2,795,727 Zohar II            Wire                              2,795,558                    169
      KPMG LLP                                                     10/1/2020 - 1/31/2022                        2,287,413 Zohar III           Wire                              2,287,275                    138
      Subtotal KPMG LLP                                                                                         5,083,140                                                       5,082,833                    306

      Young Conaway Stargatt & Taylor, LLP                         3/11/2018 - 2/28/2022                      24,857,989 Zohar II              Wire                           23,648,909           1,209,080
      Young Conaway Stargatt & Taylor, LLP                         3/11/2018 - 2/28/2022                      20,781,806 Zohar III             Wire                           19,778,278           1,003,528
      Subtotal Young Conaway Stargatt & Taylor, LLP                                                           45,639,795                                                      43,427,186           2,212,609

      Grand Total                                                                                             97,801,432                                                      95,409,434           2,391,998




                                                                                                                                                                                                        19
In re Zohar III, Corp, et al.                                                                                                                                            Case No.           18-10512
      Debtor                                                                                                                                                    Reporting Period: March 1, 2022 - March 31, 2022

                                                                                   STATEMENT OF OPERATIONS (Income Statement)
                                                            The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
                                                                 when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                                  Zohar I                                               Zohar II                                    Zohar III
                                                                                                          CUMULATIVE - FILING                                   CUMULATIVE - FILING                          CUMULATIVE - FILING
                                                                                     MONTH                                                 MONTH                                          MONTH
                                                                                                               TO DATE                                               TO DATE                                      TO DATE
      REVENUES
      Gross Revenues
         Interest                                                                                     -                          -               1,065,448                111,293,171          695,781                  101,066,812
         Sale of Assets
         Other Revenue
      Less: Returns and Allowances
      Net Revenue                                                                                     -                          -               1,065,448                111,293,171          695,781                  101,066,812
      COST OF GOODS SOLD
      Beginning Inventory
      Add: Purchases
      Add: Cost of Labor
      Add: Other Costs
      Less: Ending Inventory
      Cost of Goods Sold                                                                              -                          -                          -                        -                   -                        -
      Gross Profit                                                                                    -                          -               1,065,448                111,293,171          695,781                  101,066,812
      OPERATING EXPENSES
      Advertising
      Auto and Truck Expense
      Bad Debts - PC Loan Interest                                                                                                                 725,934                 63,166,918             43,713                 65,155,258
      Bad Debts - PC Loan Principal                                                                                                                     -                 395,679,830                -                  374,371,159
      Officer/Insider Compensation*
      Bank Service Fees                                                                           -                          -                          250                       6,831             250                        6,875
      Supplies
      Taxes - Payroll
      Taxes - Real Estate
      Taxes - Other
      Total Operating Expenses Before Depreciation                                                -                          -                     726,184                458,853,580             43,963                439,533,293
      Depreciation/Depletion/Amortization
      Net Profit (Loss) Before Other Income & Expenses                                            -                          -                     339,264               (347,560,409)         651,818                  (338,466,481)
      OTHER INCOME AND EXPENSES
      Other Income
      Interest Expense                                                                       463,617                 31,940,642                  4,271,987                217,388,319          691,416                   57,450,644
      Other Expense                                                                                                                                     -                   3,894,926                -                     5,859,787
      Net Profit (Loss) Before Reorganization Items                                         (463,617)               (31,940,642)                (3,932,724)              (568,843,654)         (39,598)                 (401,776,911)
      REORGANIZATION ITEMS
      Professional Fees                                                                           -                          -                   1,791,731                 95,667,277        1,469,508                   73,578,685
      U. S. Trustee Quarterly Fees                                                                -                        9,953                        -                   1,332,569                -                     1,285,367
      Interest Earned on Accumulated Cash from Chapter 11 (see
      continuation sheet)
      Gain (Loss) from Sale of Equipment
      Other Reorganization Expenses
      Total Reorganization Expenses
      Income Taxes
      Net Profit (Loss)                                                                   (463,617)               (31,950,595)                  (5,724,454)              (665,843,500)       (1,509,107)                (476,640,963)
      *"Insider" is defined in 11 U.S.C. Section 101(31).
      Unaudited, subject to change.




                                                                                                                                                                                                                   20
In re Zohar III, Corp, et al.                                                                                                                                                                 Case No.              18-10512
      Debtor                                                                                                                                                                         Reporting Period: March 1, 2022 - March 31, 2022
                                                                                                                            BALANCE SHEET
                                                              The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                                                                                        Zohar I                                                           Zohar II                                                 Zohar III
                                                                             BOOK VALUE AT END OF                                              BOOK VALUE AT END OF                                              BOOK VALUE AT END OF
                                                                                                                   BOOK VALUE ON                                                     BOOK VALUE ON                                             BOOK VALUE ON
                                           ASSETS                             CURRENT REPORTING                                                 CURRENT REPORTING                                                 CURRENT REPORTING
                                                                                                                    PETITION DATE                                                     PETITION DATE                                             PETITION DATE
                                                                                   MONTH                                                             MONTH                                                             MONTH
        CURRENT ASSETS
        Unrestricted Cash and Equivalents(1)                                                            -                                -                       10,933,026                                -                  4,905,971                     1,275,000
        Restricted Cash and Cash Equivalents(2)                                                  2,625,093                        5,368,409                        1,908,917                        4,999,061                  695,565                      4,414,983
        Accounts Receivable (Net)
        Notes Receivable    (3)                                                                         -                                -                      263,738,427                      640,323,970                236,979,788                  608,754,135
        Interest Receivable, net                                                                        -                                -                         1,530,392                      10,590,556                   644,886                    10,518,723
        Sale Proceeds(4)                                                                                -                                -                     (107,369,868)                               -               (147,332,615)                          -
        Inventories
        Prepaid Expenses
        Professional Retainers                                                                          -                                -                                -                           584,098                       -                        584,098
        Other Current Assets                                                                            -                                -                            20,481                               -                        -                             -
        TOTAL CURRENT ASSETS                                                                     2,625,093                        5,368,409                     170,761,374                      656,497,685                 95,893,595                  625,546,940
        PROPERTY & EQUIPMENT
        Real Property and Improvements
        Less: Accumulated Depreciation
        TOTAL PROPERTY & EQUIPMENT
        OTHER ASSETS
        Other Assets(5)                                                                                                                                            1,570,251                               -                  4,469,673                           -
        TOTAL OTHER ASSETS                                                                              -                                -                         1,570,251                               -                  4,469,673                           -
        TOTAL ASSETS                                                                             2,625,093                        5,368,409                     172,331,625                      656,497,685                100,363,268                  625,546,940


                                                                                                        Zohar I                                                           Zohar II                                                 Zohar III
                                                                             BOOK VALUE AT END OF                                              BOOK VALUE AT END OF                                              BOOK VALUE AT END OF
                                                                                                                   BOOK VALUE ON                                                     BOOK VALUE ON                                             BOOK VALUE ON
                           LIABILITIES AND OWNER EQUITY                       CURRENT REPORTING                                                 CURRENT REPORTING                                                 CURRENT REPORTING
                                                                                                                    PETITION DATE                                                     PETITION DATE                                             PETITION DATE
                                                                                   MONTH                                                             MONTH                                                             MONTH
        LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
        Accounts Payable
        Notes Payable                                                                                   -                                -                                -                                -                  5,911,322                           -
        Interest Payable                                                                       31,940,642                                -                      217,388,318                                -                 57,450,644                           -
        Cash Collateral Payment - Excess Cash Sweep                                             (2,420,000)                                                      (62,957,574)                                              (118,985,811)
        Secured Debt / Adequate Protection Payments
        Professional Fees                                                                               -                                -                         2,829,738                               -                  2,469,169                           -
        U. S. Trustee Quarterly Fees                                                                    -                                -                                    -                            -                        -                             -
        Amounts Due to Insiders*
        Other Post-petition Liabilities                                                             25,454                               -                                -                                -                        -                             -
        TOTAL POST-PETITION LIABILITIES                                                        29,546,096                                -                      157,260,482                                -                (53,154,676)                          -
        LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
        Secured Debt(6)                                                                       313,786,648                      332,370,235                      832,527,819                      817,805,316                821,943,316                  821,943,316
        Priority Debt
        Unsecured Debt
        TOTAL PRE-PETITION LIABILITIES                                                        313,786,648                      332,370,235                      832,527,819                      817,805,316                821,943,316                  821,943,316
        TOTAL LIABILITIES                                                                     343,332,743                      332,370,235                      989,788,300                      817,805,316                768,788,640                  821,943,316
        OWNERS' EQUITY
        Retained Earnings - Pre-Petition
        Retained Earnings - Post-petition                                                     (31,950,595)                               -                     (665,843,500)                               -               (476,640,963)                          -
        Preference Shares ($1,000 Par Value)                                                   20,000,000                       20,000,000                       78,236,828                       78,236,828                 60,000,000                   60,000,000
        Capital Surplus (Deficit)                                                            (328,757,056)                    (347,001,826)                    (229,850,003)                    (239,544,459)              (251,784,409)                 (256,396,376)
        Adjustments to Owner Equity
        Post-petition Contributions
        NET OWNERS’ EQUITY                                                                   (340,707,651)                    (327,001,826)                    (817,456,676)                    (161,307,631)              (668,425,372)                 (196,396,376)
        TOTAL LIABILITIES AND OWNERS' EQUITY                                                     2,625,093                        5,368,409                     172,331,625                      656,497,685                100,363,268                  625,546,940
        *"Insider" is defined in 11 U.S.C. Section 101(31).                                                 -                            -                                -                                -                        -                             -
        Unaudited, subject to change.


        Note: All operating activity is conducted at the Limited Entities and therefore all income statement and balance sheet accounts reflected herein are those of the Limited Entities except for nominal quarterly US
        Trustee fees expensed and paid by the Limited Entities on behalf of the Corp entities. No activity or balances are recorded at the Corp Entities although they are co-issuers of the Zohar notes.
  (1)   Excludes certain cash being held in connection with AMZM’s role as Collateral Manager of the Zohar Funds.
  (2)   Restricted cash includes balances held at U.S. Bank National Association that may be for the benefit of the Zohar noteholders.
  (3)   Given the December 21, 2016 Auction and the Settlement Agreement, the Debtors are not reflecting any Zohar I notes receivable.
  (4)   Sale Proceeds reflect the net cash proceeds received by the Debtors from Portfolio Company monetization transactions and have been reflected on the balance sheet as a contra-asset account.
  (5)   The Debtors hold disputed equity interests in the Portfolio Companies. The value of these interests have not been determined and therefore a carrying value of these investments are not reflected in the Debtors
        books and records. Amounts shown above relate to funds accrued at certain Portfolio Company escrow accounts, further detailed in subsequent exhibits.
  (6)   Zohar I - The Secured Debt balance of $313.8M represents the $286.4M outstanding principal balance on the A-3 notes, $6.0M of professional fees, $1.8M of Collateral Manager fees which may be due to
        AMZM, and $19.6M of Collateral Manager fees which may be due to Patriarch Partners.
        Zohar II - The Secured Debt balance of $832.5M represents the Paid in Full amount, as of the Petition Date, of $806.6M (MBIA policy payment of $770.1M, $21.6M of prepetition accrued interest net of cash
        collections and $14.9M of Credit Enhancement Liabilities), $2.0M of professional fees, $19.3M of Collateral Manager fees which may be due to AMZM, and $4.6M of Collateral Manager fees which may be due
        to Patriarch Partners.
        Zohar III - The Secured Debt balance of $821.9M represents the Paid in Full amount, as of the Petition Date, of $795.0M ($791.2M outstanding principal balance plus $3.8M of prepetition accrued interest),
        $5.3M of professional fees, $19.3M of Collateral Manager fees which may be due to AMZM, and $2.3M of Collateral Manager fees which may be due to Patriarch Partners.




                                                                                                                                                                                                                                                    21
In re Zohar III, Corp, et al.                                                                                                Case No.           18-10512
      Debtor                                                                                                        Reporting Period: March 1, 2022 - March 31, 2022

                                                                           STATUS OF POST-PETITION TAXES

      The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
      Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes. Attach photocopies of any
      tax returns filed during the reporting period.

                                                                                             Amount
                                                                                             Withheld
                                                                                              and/or            Amount
      Federal                                                      Beginning Tax             Accrued             Paid           Date Paid           Check # or EFT    Ending Tax
      Withholding
      FICA-Employee
      FICA-Employer
      Unemployment
      Income
      Other:_____________
        Total Federal Taxes
      State and Local
      Withholding
      Sales
      Excise
      Unemployment
      Real Property
      Personal Property
       Total State and Local

      Total Taxes


                                                                  SUMMARY OF UNPAID POST-PETITION DEBTS

      Attach aged listing of accounts payable.
                                                                                                                   Number of Days Past Due
                                                                         Current                0-30              31-60            61-90                Over 91          Total
      Accounts Payable
      Wages Payable
      Taxes Payable / (Receivable)
      Interest Payable                                                                                                                                                     306,779,604
      Rent/Leases-Building
      Rent/Leases-Equipment
      Secured Debt/Adequate Protection                                                                                                                                           5,911,322
      Payments
      Professional Fees                                                                                                                                                          5,298,907
      Amounts Due to Insiders
      Other:______________
      Other:______________
      Total Post-petition Debts                                                    -                    -                 -                -                      -        317,989,833

      Explain how and when the Debtor intends to pay any past due post-petition debts.




      Unaudited, subject to change.




                                                                                                                                                                                             22
In re Zohar III, Corp, et al.                                                                                                            Case No.                 18-10512
      Debtor                                                                                                                    Reporting Period: March 1, 2022 - March 31, 2022


                                                                           ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                                                                                                                                  Amount
                                                                                ZOHAR CDO        ZOHAR CDO     ZOHAR II 2005-    ZOHAR II 2005-
      Accounts Receivable Reconciliation                                                                                                              ZOHAR III, CORP        ZOHAR III, LIMITED
                                                                                2003-1, CORP   2003-1, LIMITED   1, CORP          1, LIMITED
      Total Accounts Receivable at the beginning of the reporting period
      Plus: Amounts billed during the period
      Less: Amounts collected during the period
      Total Accounts Receivable at the end of the reporting period

                                                                                                                                  Amount
                                                                                ZOHAR CDO        ZOHAR CDO     ZOHAR II 2005-    ZOHAR II 2005-
      Accounts Receivable Aging                                                                                                                       ZOHAR III, CORP        ZOHAR III, LIMITED
                                                                                2003-1, CORP   2003-1, LIMITED   1, CORP          1, LIMITED
      0 - 30 days old
      31 - 60 days old
      61 - 90 days old
      91+ days old
      Total Accounts Receivable                                                            -
      Less: Bad Debts (Amount considered uncollectible)
      Net Accounts Receivable


      Unaudited, subject to change.




                                                                                                                                                                                     23
Zohar III, Corp., et al.,

Cash Balance - Summary by Bank Account - UNAUDITED
                                              As of March 31, 2022
                                   Zohar I           Zohar II                        Zohar III                  Total
Unrestricted Cash Summary:
 Truist Account x8690                       -        $ 3,870,562                              -                 $ 3,870,562
 Truist Account x8704                       -                 -                        4,905,971                  4,905,971
 Truist Account x4253                       -          7,062,464                              -                   7,062,464
 Truist Account x1257                       -                 -                               -                          -
Total Unrestricted Cash(1)                             -          10,933,026           4,905,971                15,838,997

Restricted Cash Summary:
 US Bank x1-201                                    6,610                   -                  -                      6,610
 US Bank x1-204                                    8,891                   -                  -                      8,891
 US Bank x1-702                                2,609,591                   -                  -                  2,609,591
 US Bank x47.3                                        -                    52                 -                         52
 US Bank x47.15                                       -               424,558                 -                    424,558
 US Bank x47.22                                       -               528,602                 -                    528,602
 US Bank x47.23                                       -               955,705                 -                    955,705
 US Bank x81.3                                        -                    -                  19                        19
 US Bank x81.5                                        -                    -             324,973                   324,973
 US Bank x81.12                                       -                    -             250,350                   250,350
 US Bank x81.14                                       -                    -             120,224                   120,224
Total Restricted Cash                          2,625,093            1,908,917            695,565                 5,229,574
Total Cash Balance(2)                        $ 2,625,093        $ 12,841,942         $ 5,601,536            $ 21,068,571

(1) Amount shown includes $825K related to Indemnification Escrow from various Portfolio Company sales.
(2) Excludes certain cash being held in connection with AMZM’s role as Collateral Manager of the Zohar Funds.




                                                                                                                          24
   Zohar III Corp., et al.

   Outstanding Escrow Account Balances
                                                                                   Zohar II Potential     Zohar III Potential
                                                                                                (1)                     (1)
   Escrow Account                            Bank Name        Account Number          Recovery                Recovery
      Indemnity Escrow                    Fifth Third Bank                                        $ -             $ 1,210,779
      Seller Expense Escrow               Fifth Third Bank   x5105                                  -                 267,138
      Purchase Price Adjustment Escrow    Fifth Third Bank   x5097                                  -                     187
      Default Interest Escrow             Fifth Third Bank   x5113                                  -                 120,212
      Representative Fund                 Citibank, N.A.     x1768                             237,501                109,815
      Representative Fund                 Ankura Trust Co.                                     217,800                192,908
      Environmental Matters Escrow        Citibank, N.A.     x9768                                  -                 231,161
      Tax Matters Escrow                  Citibank, N.A.     x8768                                  -               1,285,983
      Representative Fund                 Ankura Trust Co.                                          -                 337,203
      Wind-down Expenses                  Ankura Trust Co.                                     164,264                151,350
      Indemnity Reserve                   Wilmington Trust   x8544                             281,039                260,970
      Unpaid Fee Escrow                   Citibank, N.A.     x3768                             224,443                186,250
      Transaction Escrow                  Citibank, N.A.     x8768                             345,277                 89,744
      Representative Fund                 Ankura Trust Co.                                      99,927                 25,973
   Grand Total                                                                             $ 1,570,251            $ 4,469,673

    Notes:
(1) Potential Recovery represents each Zohar's gross pro-rata portion of the current outstanding amounts (i.e., if recovered in
    full). There can be no assurance the escrows will be released in part or in full to the Zohars, and outstanding amounts may
    be materially different from any additional recoveries on these escrowed funds.




                                                                                                                                  25
